    .                   Case 4:08-cr-00063-BSM Document 139 Filed 12/18/12 Page 1 of 2
AO 245D          (Rev. 09/11) Judgment in a Criminal Case for Revocations
                 Sheet 1
                                                                                                                         FllEB




                      PATRICK JONES                                         Case No.       4:08CR00063-04 JLH
                                                                            USMNo.         25269-009
                                                                                                Garfield W. Bloodman
                                                                                                  Defendant's Attorney
THE DEFENDANT:
X       admitted guilt to violation of condition(s)        _ _ _ _......;:::9_ _ _ _ _ _ of the term of supervision.
D was found in violation of condition(s)                  - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                 Nature of Violation                                                          Violation Ended
9                                Associating with persons convicted of a felony                               July 3, 2012




       The defendant is sentenced as provided in pages 2 through ---=2=---_of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 3386                                              December 18, 2012

Defendant's Year of Birth:            1986

City and State of Defendant's Residence:
                  Little Rock, Arkansas
                                                                                  I. l&on Holmes, United States Djstrjct Judge
                                                                                                 Name and Title of Judge

                                                                                                 December 18, 2012
                                                                                                          Date
                     Case 4:08-cr-00063-BSM Document 139 Filed 12/18/12 Page 2 of 2
AO 2450      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 2- Imprisonment

                                                                                               Judgment- Page   -=2- of       2
DEFENDANT:                    PATRICK JONES
CASE NUMBER:                  4:08CR00063-04 JLH


                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

               12 MONTHS and ONE (1) DAY with no term of supervised release to follow


     X The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends defendant participate in residential or nonresidential substance abuse
         treatment and educational and vocational programs during incarceration.


     X The defendant is remanded to the custody of the United States Marshal.

     D   The defendant shall surrender to the United States Marshal for this district:
         D    at    - - - - - - - - - D a.m.                      D p.m.    on
         D    as notified by the United States Marshal.

     D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D    before 2 p.m. on
         D    as notified by the United States Marshal.
         D    as notified by the Probation or Pretrial Services Office.

                                                                        RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                     to

at   - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                           By -------~~~~~~~~~~------­
                                                                                         DEPUTY UNITED STATES MARSHAL
